                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
 In re:
                                                              Chapter 11
 PARAGON OFFSHORE PLC,
                                                              Case No. 16-10386 (CSS)
                             Debtor.

 PARAGON LITIGATION TRUST,

                         Plaintiff,

                         v.
                                                              Adv. Pro. No. 17-51882 (CSS)
 NOBLE CORPORATION PLC, NOBLE
 CORPORATION HOLDINGS LTD, NOBLE
 CORPORATION, NOBLE HOLDING
 INTERNATIONAL (LUXEMBOURG) S.à r.l.,
 NOBLE HOLDING INTERNATIONAL
 (LUXEMBOURG NHIL) S.à r.l., NOBLE FDR
 HOLDINGS LIMITED, MICHAEL A. CAWLEY,
 JULIE H. EDWARDS, GORDON T. HALL, JON A.
 MARSHALL, JAMES A. MACLENNAN, MARY P.
 RICCIARDELLO, JULIE J. ROBERTSON, and
 DAVID WILLIAMS,

                         Defendants.

                               NOTICE OF SERVICE OF DISCOVERY

                 PLEASE TAKE NOTICE that on August 30, 2019, the Paragon Litigation Trust

served the following upon the parties listed below in the manner indicated:

         The Paragon Litigation Trust’s First Set of Requests for Admission Directed to the Noble
          Corporation Defendants

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Dated: September 3, 2019                   PACHULSKI STANG ZIEHL & JONES LLP

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